            Case 2:13-cr-00302-MCE Document 139 Filed 06/05/18 Page 1 of 3


 1 LAW OFFICES OF CHRIS COSCA
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 4 Attorney for Defendant
   JAMES RANDOLPH SHERMAN
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 7
 8                           IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                      2:13-CR-00302 MCE
11
                                   Plaintiff,       STIPULATION REGARDING EXCLUDABLE
12                                                  TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                      ORDER
13
     JAMES RANDOLPH SHERMAN,                        DATE: June 7, 2018
14                                                  TIME:  10:00 a.m.
                                  Defendant.        COURT: Hon. Morrison C. England, Jr.
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17
                                                STIPULATION
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           1.     By previous order, this matter was set for status on June 7, 2018.
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           2.     By this stipulation, the parties now move to continue the status conference to
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     September 6, 2018, and to exclude time between June 7, 2018 and September 6, 2018 under
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     Local Code T4.
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           3.     The parties agree and stipulate, and request that the Court find the following:
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                  a)     Discovery associated with this case includes 146 pages and multiple
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           CD/DVDs, some of which include lengthy surveillance, video and audio. This discovery
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           has been either produced directly to counsel and/or made available for inspection and
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           copying.
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                  b)     Defense counsel has a lengthy trial coming up and desires additional time
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            to review discovery, investigate, and to confer with his client concerning discovery,
      STIPULATION TO CONTINUE STATUS CONF             1
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           Case 2:13-cr-00302-MCE Document 139 Filed 06/05/18 Page 2 of 3


 1        investigation, potential options for the defense and trial preparation.

 2                c)     Counsel for defendant believes that failure to grant the above-requested

 3        continuance would deny counsel the reasonable time necessary for effective

 4        preparation, taking into account the exercise of due diligence.

 5                d)     The government does not object to the continuance.

 6                e)     Based on the above-stated findings, the ends of justice served by

 7        continuing the case as requested outweigh the interest of the public and the defendant

 8        in a trial within the original date prescribed by the Speedy Trial Act.

 9                f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

10        § 3161, et seq., within which trial must commence, the time period of June 7, 2018 to

11        September 6, 2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§

12        3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by

13        the Court at defendants’ request on the basis of the Court’s finding that the ends of

14        justice served by taking such action outweigh the best interest of the public and the

15        defendant in a speedy trial.

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     STIPULATION TO CONTINUE STATUS CONF            2
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            Case 2:13-cr-00302-MCE Document 139 Filed 06/05/18 Page 3 of 3


 1         4.      Nothing in this stipulation and order shall preclude a finding that other provisions

 2 of the Speedy Trial Act dictate that additional time periods are excludable from the period
 3 within which a trial must commence.
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 5         IT IS SO STIPULATED.

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     Dated: June 4, 2018                                 /s/ Jason Hitt
 8                                                       JASON HITT
                                                         Assistant United States
 9                                                       Attorney
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12                                                       /s/ Chris Cosca
     Dated: June 4, 2018
                                                         CHRIS COSCA
13
                                                         Counsel for Defendant
14                                                       JAMES SHERMAN

15
16                                                ORDER

17         IT IS SO ORDERED.

18 Dated: June 4, 2018
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      STIPULATION TO CONTINUE STATUS CONF            3
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